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 1
 2                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
 4
 5                                                  Case No. 3:16-cv-04300-JD

 6                                                  CLASS ACTION
      IN RE POKÉMON GO NUISANCE
 7
      LITIGATION                                    [PROPOSED]
 8                                                  ORDER GRANTING AWARD OF
 9                                                  ATTORNEYS’ FEES AND EXPENSES AND
                                                    SERVICE AWARDS
10
11
12          This matter came on for hearing on August 22, 2019. The Court has considered the Second

13   Amended Settlement Agreement dated April 25, 2019, ECF No. 129-1 (“Settlement”), Addendum 1

14   to Second Amended Class Action Settlement Agreement dated June 10, 2019, ECF No. 134, any

15   objections or comments received regarding the Settlement, the record in the Action, and the
16   arguments and authorities of counsel. Good cause appearing, the Court orders as follows.
17          1. The Court GRANTS an award of $4 million to Pomerantz LLP, inclusive of all past and
18              future attorneys’ fees and costs of any kind related to this matter. This amount shall not
19              affect Niantic’s pre-existing obligation under paragraph 2.5 of the Settlement Agreement
20              to pay “all reasonable and necessary costs of the Class Notice program.”
21          2. The Court GRANTS a service award of $1,000 to each Named Plaintiff, totaling $11,000.
22          3. Except as otherwise set forth in this order and in Addendum 1 and the Settlement
23
                Agreement, neither Pomerantz LLP nor Plaintiffs shall seek payment, damages,
24
                remuneration, or compensation of any kind from Niantic related to this matter.
25
     DATED: August 30, 2019
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28                                                       HON. JAMES DONATO
                                                         UNITED STATES DISTRICT JUDGE
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